         Case 2:01-cr-00230-JAM Document 31 Filed 05/10/06 Page 1 of 2


                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable David F. Levi
Chief United States District Judge
Sacramento, California

                                          RE:     David S. ROMO
                                                  Docket Number: 2:01CR00230-01
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Nassau, Bahamas. The releasee is
current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date: On December 5, 2002, the releasee was sentenced
for the offense(s) of 18 USC 2314 and 2 - Interstate Transportation of Stolen Securities,
Aiding and Abetting; 18 USC 1344 and 2 - Bank Fraud, Aiding and Abetting.


Sentence imposed: 12 months and one day on each count, to be served concurrently;
3 years Supervised Release; $100,000 restitution; $300 special assessment. (Financial
obligations paid in full). Special Conditions: Search; Financial restrictions and disclosure;
No solicitation of businesses involving investment income; No financial transactions over
$100,000.


Dates and Mode of Travel: The releasee will depart on June 2, 2006, and return June 8,
2006.


Purpose: Pleasure trip with wife and children.




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           Case 2:01-cr-00230-JAM Document 31 Filed 05/10/06 Page 2 of 2


RE:      David S. ROMO
         Docket Number: 2:01CR00230-01
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                     Respectfully Submitted,

                                          /s/ Lori V. Clanton

                                     LORI V. CLANTON
                            Senior United States Probation Officer

DATED:            May 5, 2006
                  Roseville, California
                  lvc:cd


REVIEWED BY:                   /s/ Richard A. Ertola
                         RICHARD A. ERTOLA
                         Supervising United States Probation Officer



ORDER OF THE COURT:

Approved             X                                 Disapproved


       05/09/06                                        /s/ David F. Levi
Date                                                   DAVID F. LEVI
                                                       Chief United States District Judge




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